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Hideous Men a /
Donald Trump assaulted me in a Bergdorf Goodman dressing
room 23 years ago. But he’s not alone on the list of awful menin  _
my life. x
By E. Jean Carroll Photograph By Amanda Demme as
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£. Jean Carroll. Photo: Amanda Demme for New York Magazine

My first rich boy pulled down my underpants. My last rich boy pulled down
my tights. My first rich boy — I had fixed my eyes on his face long enough to

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his forchead. I don’t know what he grew up to be. My last rich boy was blond.
He grew up to be the president of the United States.

The first rich boy’s name was James. He was raped by his grandfather. He was
raped by his uncles. He was beaten by his father. My mother told me the
stories much later. When James was 6, he was taken away from his father and
given to a rich couple, Arthur and Evelyn. Arthur and Evelyn were best friends
with my parents, Tom and Betty. One day my parents gave a party. Everyone
brought their kids. Arthur and Evelyn drove up from Indianapolis with James
to the redbrick schoolhouse where we lived, deep in the hills north of Fort
Wayne. As the parents drank cocktails in our big yard with the scent of the —
blooming wads of cash infusing every inch of Indiana just after WWII, the kids
played up on the hill beside the schoolhouse.

James was 7 and a half or 8, a bloodthirsty, beautiful, relentless boy. He
ordered everyone around, even the older kids. To me he said, “I’m going to
shove this up you again.”

We'd played this game before. Our families had gone on a camping trip to
Pokagon State Park, and T learned that an object could be shoved up the place
where I tinkled. T don’t remember now what it was, probably a stick, or maybe
a rock. It felt like being cut with a knife. I remember T bled.

“T don’t want to,” I said.
We were standing on the hill. James looked at me with his feral gray eyes.

He wadded up a piece of fabric — it was a light blue-violet shade and looked
fluffy, like a bunched-up hairnet.

“Put this in your underpants,” he said.

He pulled up my dress and crammed the balled-up material down my pants.
Late at night, when the guests had gone home, I took off my dress, pulled
down my pants. And there it still was, the wadded-up thing.

James and I played so many ferocious games while camping that summer:
hooking each other with fishhooks, holding each other underwater, tying each
other up, shooting each other with cap guns, chasing each other with garter
snakes, dumping hot embers on each other’s heads. Tam not putting him on
the Most Hideous Men of My Life List — whether he belongs there is for him
to decide. It is his uncles, his father, his grandfather who belong on such a list.

Now, about this Most Hideous Men of My Life List: Tt is a list of the 21 most
revolting scoundrels I have ever met. I started it in October 2017, the day Jodi

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Kantof aad Mean Wwohey bublished théei2Harvigd Weinstein ibagu lssivells in
the New York Times. As the riotous, sickening stories of #MeToo surged

across the country, I, like many women, could not help but be reminded of
certain men in my own life. When I began, I was not sure which among all the —
foul harassers, molesters, traducers, swindlers, stranglers, and no-goods I’ve
known were going to make the final accounting. I considered Matt Lauer, Bill
O'Reilly, and the giant dingleberry Charlie Rose, all guys whose TV shows I

was on many times and who made headlines during the rise of #MeToo. But in
the end, they do not make my Hideous List.

Hunter S. Thompson ... now, there’s a good candidate. | know. I wrote his
biography. Does Hunter, the greatest degenerate of his generation, who kept
yelling, “Off with your pants!” as he sliced the leggings from my body with a
long knife in his hot tub, make the list? Naw.

And if having my pants hacked off by a man lit to the eyebrows with acid,
Chivas Regal, Champagne, grass, Chartreuse, Dunhills, cocaine, and Dove
Bars does not make the list — because to me there is a big difference between
an “adventure” and an “attack” — who, in God’s name, does make my Hideous

List?

After almost two years of drawing and redrawing my list, I’ve come to realize
that, though my hideosity bar is high, my criteria are a little cockeyed. It is a
gut call. T am like Justice Potter Stewart. T just know a hideous man when I see
one. And I have seen plenty. For 26 years, I have been writing the “Ask E.
Jean” column in Elle, and for 26 years, no matter what problems are driving
women crazy — their careers, wardrobes, love affairs, children, orgasms,
finances — there comes a line in almost every letter when the cause of the
correspondent’s quagmire is revealed. And that cause is men.

Viz.: the man who thinks 30 seconds of foreplay is “enough,” the man who
cheats on his wife, the man who passes women over for promotion, the man
who steals his girlfriend’s credit cards, the man who keeps 19 guns in the
basement, the man who tells his co-worker she “talks too much in meetings,”
the man who won't bathe, the man who beats his girlfriend’s dog, the man who
takes his female colleagues’ ideas, the man who tries to kill his rich wife by
putting poison in her shampoo. Every woman, whether consciously or not, has
a catalogue of the hideous men she’s known.

As it turns out, a Hideous Man marks practically every stage of my life. And so,
Reader, from this cavalcade of 21 assholes, I am selecting a few choice
specimens. One or two may not be pleasant for you to read about, I apologize.
But if we all just lean over and put our heads between our knees, the fainting
feeling will pass. No one need be carried from the room.
Case 1:20-cv-07311-LAK

       
 

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é E . - z Pr i a _ . ma :
Carroll being crowned Miss Indiana University in 1963. Photo: Elinor Hendrix/Courtesy of the author

When I entered Indiana University, I was the most boy-crazy 17-year-old.
in the nation. -

If you’d met me my freshman year, you would never have imagined I was born
to be an advice columnist. But imagine it now. Thirteen miles from the
Bloomington campus, there I am: young J eanie Carroll, driving with a boy
down a hilly back road in Brown County State Park, where IU students go on
October Sundays to supposedly look at the famous leaves.

My situation in life — my father being a Beta Theta Pi from Wabash College,
my mother being a Kappa Delta from UCLA, my wild wish to pledge either Pi
Beta Phi or Kappa Kappa Gamma, my rah-rah disposition, my total ignorance
of what is going on in the world, the fact that I never erack a book — all are
equally against my becoming a columnist, the first requirement of which is
acknowledging that there are other beings on the planet besides boys.

How I end up in that car, who the boy is ... well, T don’t remember. I’ve been
looking through my 1961 datebook, and each day is so chock-full of the names
of boys who called me, the names of boys whom I expected to call me and
didn’t, the names of boys who did call me but T didn’t care if they called me,
the names of boys who if they didn’t call me I was never going to speak to
again, the names of boys who if they called me T would not pick up the phone,

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called me while she was on the line with a boy who was begging me to call him _
back, I can’t figure out who this boy is. But meet No. 1 on the Most Hideous
Men of My Life List.

He belongs to that class of boys who are not athletes and so must make their
mark on campus with their devastating looks or gobs of money. I don’t
remember this boy having either. I remember this boy’s thing is his car. It is a
stick shift. Nobody knows how to “drive a stick,” he says, except him and A. J.
Foyt, the Indianapolis 500 winner, and so Tam amazed when he releases the
clutch like he’s stepping on a yellow-jacket nest and grinds the gears when he
pulls over in the dirt and stops.

T look around. “T gotta get back to the dorm,” T say.
He turns off the engine.

“Youtuuuuun liiiittttttttt MMMM prerrrrrrrrrrik teeeeeeeeecez,” he says. This
opening compliment, “You little prick tease,” is paid to every girl at some point
or other in 1961, and I don’t wait to be paid another. T open the car door and
slide out.

What am I wearing? Tennis shoes, jeans, big sweatshirt, and. — blam, he
lunges from the car and bolts his arms around me. We crash, like felled trees,

to the ground.

We land in grass covered in yellow leaves. Thanks to Mr. Weber, my high-
school biology teacher, I can, with 100 percent confidence, say those yellow
leaves are poplar leaves. They crackle as I struggle to get up.

Straddling me, the boy looks zonked out of his mind with the possibilities. He
pushes my sweatshirt up to my neck.

I remember the thought flashes through my mind that could I have foreseen
the circumstance of a boy throwing me down and pushing my sweatshirt up to
my chin, I would not have worn a padded bra. A padded bra makes a girl look
like she lacks something.

“T don’t want to wrestle,” I say. “Get off!”
He pins my arms over my head by my wrists.
“Get off!” T say again.

He is holding my wrists with both his hands, and, before I can react, he
changes his hold to one hand and, with his free hand, pulls a knife out of his

back pocket.
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“Coe thie? he Whispers LAK Document 152-1 Filed 05/11/23 Page 6 of 19

{ look at it. At the time, I own two Girl Scout knives, a Girl Scout knife-safety
certificate, and my own personal hatchet, and the neighbor kids believe I have
reached a height of felicity rarely attained on Tllsley Place, our street, because
of my winning 30 rounds of mumblety-peg, a game where we throw
pocketknives at each other’s bare feet. So, yes, I can “see” his knife. It’s a
jackknife, a knife with a folding blade, dark brownish-gray, made out of some
kind of horn, about five or six inches. If he opens it, it will measure, end to
end, 10 or 11 inches. It’s not the knife. Well, it is the knife, but it’s the look on
his face that scares me.

“Get off,” T say.

He pushes my bra up over my breasts. I can smell his excitement; it’s like
electrified butter, and J zero in on the fact that he must use two hands to open

the knife.
“Get off!” I say.
“T am gonna get off,” he whispers.

He lets go of both of my wrists for two seconds to open the knife, and T roll out
from under him and run.

I was voted Best Girl Athlete in high school, but T was a high jumper, not a
runner. I outrun this boy nonetheless. And on a twisty back road through
tangled orange-and-scarlet thickets, a young couple in a car pick me up about
a quarter-hour after I escape. The girl says, “Tl bet a boy tried something with
you,” and I say, “Yeah,” and that is the last word I utter about the attack until

now.

Had I been an artist, I could have carried the front seat of the car the boy was
driving wherever I went on Indiana University’s campus to protest his assault
like Emma Sulkowicz carrying her mattress around Columbia University in
the greatest art show of 2014, but I didn’t think of it. Perhaps hauling around
just the gearshift would have sufficed. But, like many women who are
attacked, when I had the most to say, I said the least.

Let’s just double-check my diary: Do I write that I went to the campus police
and reported the boy? Do T say T went to the university health clinic and talked

with a therapist? No. I say:

BE IT KNOWN—
That from this day forth T will not except [sic] or go on any dates that are not
of my choice — they must be boys who are to my liking [T can’t read what I

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crossed Watery P have kd fsibpamananthiiees tres Coates? tRanewastd my
time with CREEPY BOYS.
(signed) Jeanie Carroll

 

E. Jean Carroll. Photo: Amanda Dermme for New York Magazine

After college and bumming around Africa, I arrive in Chicago, ready to start
my so-called career. I meet one of those semi-good-looking, brown-haired,
unimpeachably but forgettably dressed young men who are vice-presidents
because their fathers own the company, in this case an employment agency—
and—accounting firm—type thing, which, despite the gloss of its golden
promise, no longer exists.
He hireSitet@nely *Bkid Aéw Recomers.’152-1 Filed 05/11/23 Page 8 of 19
“You start tonight,” he says.
“Great!” T say.

“We're meeting the people from Marshall Field's. Be at the Pump Room at
eight o’clock.”

“Wow!” I say. “The Pump Room!” |

Congo-green paisley taffeta dinner suit, whisk-broom eyelashes, Rorschach-
inkblot eye shadow, stacked heels, Marquis de Sade hair bow, and skirt up

to here, I arrive in the Pump Room. I remember lots of white linen. Sparkling
silver. The maitre d’ escorts me to a booth, where No. 13 on the Most Hideous
Men of My Life List rises to greet me and says, “They canceled.”

“Oh dear,” I reply.
“Never mind,” he says. “Sit down.”

He orders drinks, an extra glass of ice, tells me in detail about the new suit he
is wearing, and then says, surprised, “Oh damn! My ex-wife just walked in.”

My false eyelashes spring open like parasols.

Asmashingly put-together woman with a flamboyant mane of rich red hair is
being escorted with an older chap (he is probably all of 35) to a table across
the room. When they are seated, my boss raises his glass to her. She nods and
raises one eyebrow at him.

“She’s a cunt,” he says.

Ten minutes later, an odd thing happens. My boss’s ex-wife takes her chap’s
hand and raises it to her lips. A moment later, my boss takes my hand and
raises it to his lips.

1 jerk my hand away.

“Just a welcome smooch,” he says. “Don’t be bourgeois.”

He orders another drink. Across the room, my boss's ex-wife glances at us and
puts her two very, very red open lips on her chap’s cheek and — well, there is

no verb available — squishes her lips up and down and sorta rolls them
around his face like she is the press-and-steam girl at a dry cleaner.
By 16W, the Gtiestiol? Has dtcurted’te Votre why
does this woman seem so unfazed by all this

horrible crap?

After she concludes, my boss picks up the glass filled with ice, globs in a
mouthful, crunches it for a few seconds, and then plants his freezing lips and
tongue on my face.

I nearly fly out of the booth.
“GET OFF!” T ery. “Ewwwwwww!”
“You're so000 boooo000zzzzshwaaaaahh,” says my boss.

“Keep it in your mouth, mister!” T say. “Where’s the waiter? T need more bread
and butter!”

Lam not a foodie. Give me a three-cheese foot-long with a mound of red
onions on it or a couple of Amy’s organic black-bean burritos and I’m happy.
But wild, half-witted, greener-than-green Jeanie Carroll, 50 years before
#MeToo, 40 years before women even begin expecting things could be
different Jeanie Carroll, who takes her licks and doesn’t look back, is not about
to pass up a dinner in the goddamn Pump Room!

1 have the filet mignon. (One of the last times I ever eat meat, so disgusting is
this night.)

My boss? He orders another drink and becomes more and more excited,
slobbering on my hand like a Doberman playing with his squeaky toy, and
meanwhile my boss’s ex-wife — who I now, halfa century later, suspect was
actually his wife and this was a little game they played to spice things up —
starts rubbing her chap’s leg.

My boss and f can’t really see her doing it, as the table linen hangs nearly to
the floor, but it is clear from the feverish action of her upper body that she is
rubbing and rubbing and rubbing, and when her chap’s eyes close, she goes on
rubbing until, with his face still smeared with lipstick and looking like a
sophomore standing on the free-throw line in a tied game, the chap stands up,
heaves a wad of cash on the table, grabs the wife, and they scamper toward the
exit. My boss asks for the check.

My Jean Rhys Good Morning, Midnight room in the old Hotel Eastgate on
Ontario Street no longer exists. But at the time, it is only a dozen or so blocks
away, and my boss insists on driving me home. It is my first ride ina
Mercedes. I am surprised at how uncomfortable the stiff leather seats are. Two
or three blocks from my place, my boss runs a red light, stomps the brakes,

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his hand between my legs so hard T bang my head into the dashboard trying to
protect myself. I open the car door and bound into the traffic.

My boss must be doing the following things: pulling over, getting out, etc.,
because as I am about to turn in to the Hotel Eastgate, I look back and see him
weaving toward me in a drunken trot. I remember that his legs look
menacingly short. I run into the empty hotel lobby. Spurt past the desk. No
manager in sight. Check the elevators. Decide to take the stairs two at a time.
Hit the second floor. Feeling for the room key in my jacket pocket, T run down
the hall, and as I try to put the key in the door, my boss catches me from
behind and clamps his teeth on the nape of my neck. I kick backward at his
shins, manage to get the key to work, jab a backward elbow into his ribs,
squeeze into my room, and push, push, push the door closed.

Have you ever shut a dog outside who wants to come in? My boss scratches
and whimpers at that door for the next quarter of an hour. The next day, I get
a new job — and never has my lack of all talent been put to better advantage —
as a greeter-and-seater at Gino’s East, the Chicago pizza joint beloved by mob
guys, journos, and TV glamorosi, and do not so much as call No. 13 to tell him
T quit.

Do L attract hideous men? Possibly. But I’ve also encountered many
creeps, villains, dickwads,and chumps simply because T’ve been around a long
time. I was mostly single, free of encumbrances, and working in the ’60s, ’70s,
’80s, and ’90s, when a woman could scarcely walk down the street without
getting hit on or take a job without being underpaid.

So ... we may proceed to No. 15 on the Most Hideous Men of My Life List: Les
Moonves, chairman of the board, president, and chief executive officer of the

CBS Corporation.

This happens in the time — one of the happiest of my happy life — when I am
booming around the country writing for Esquire. I have been interviewing
Moonves in the lounge of the Hotel Nikko in Beverly Hills for a story
(presciently titled by my editor “Dangerous Minds,” February 1997), and the
short, gravel-voiced Moonves apparently takes one look at me — a 50-
something journalist in a pair of old prown-and-beige oxfords — and his life is
no longer his own.

After the interview is finished (and for a man like Moonves, talking about
himself for an hour and a half is as good as downing two gallons of Spanish
fly), he follows me to the elevator. When I turn to say good-bye, he says:
“You're smart.”

T say: “Thank you!”

He says: “Smart enough to choose an out-of-the-way hotel,” and he steps into
the elevator behind me and, his pants bursting with demands, goes at me like

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Reader, but Moonves, with his arms squirming and poking and goosing and
scooping and pricking and prodding and jabbing, is looking for fissures I don’t
even know I own, and — by God! — T am not certain that even if pull off one
of his arms it won’t crawl after me and attack me in my hotel bed. Hell, Tam
thrilled I escape before he expels his ink.

Naturally, I do not mention this in the article. 1am a member of the Silent
Generation. We do not flap our gums. We laugh it off and get on with life.
(Moonves, for his part, told New York he “emphatically denies” the incident
occurred.)

   
    

    

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Carroll cheerleading at Indiana University in 1965.

  

Photo: ‘Courtesy of the auther

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this woman seem so unfazed by all this horrible crap? Well, I am shallower
than most people. T do not dwell on the past. I feel greater empathy for others
than for myself. I do not try to control everything. But mainly, I think it is
because I have done the thing no Indiana University football team has ever
done in history — T have won a national championship: Miss Cheerleader
USA. And they fly me to Washington, D.C., to meet President Lyndon Johnson
in the Rose Garden. My photo (in a swimsuit!) plays on front pages across the
nation. I get a big scholarship and appear on the TV quiz show To Tell the
Truth.

This championship is, in fact, so important to the Indiana athletic department
that they put me on billboards all over the state of Indiana — giant images of
an ecstatic Jeanie escaped from her bottle, soaring above the stunned crowd in
the Indiana University football stadium, a big i on my crimson sweater,
cheerleading skirt aswirl, legs split like the atom.

And, well, I’ve never really come down ... have I?

I’m up there, perpetually, eternally, forever in mid-leap, urging the crowd to
never lose hope. T was a cheerleader in grade school. T was a cheerleader in
high school. My sisters, Cande and Barbie, were cheerleaders; my brother,
Tom, was a pole vaulter, so he jumped too. Today T open a letter for my
column, I read the question, and what do I do? I start shouting and yelling and
cheering at the correspondent to pick herself up and go on. And, by God! The
correspondent does pick herself up and does go on! Because if she doesn't, I
keep yelling at her. And every now and then I shout at myself, “Get the hell up,
E. Jean! You half-wit! My God! Get on with it!”

And many women my age just “get on with it” too. It is how we handle things:
Chin up! Stop griping! We do not cast ourselves as victims because we do not
see ourselves as victims. While the strategy has worked for me, T wish T hadn’t
waited so long to say something about two of my Hideous Men.

Beauty contests are such a rage when T am growing up that my camp — a
Girl Scout camp! — holds yearly pageants. So it happens that the first beauty
contest I am nominated for is Miss Camp Ella J. Logan. (Later Pil win Miss
Indiana University, no doubt due to my “talent”: T take to the stage dressed as
Edith Sitwell and perform a dramatic reading of Dick and Jane.)

There is no talent portion at camp, alas. We contestants walk up and down the
dock; the judges, who’ve roared across the lake in a magnificent Chris-Craft
and who are now seated in deck chairs, call my name.

T walk over and whisper: “what?”

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After they put the papier-maché crown on my head, the cape on my shoulders,
and give me the baton covered in Reynolds Wrap, Old Cam, No. 6 on the Most
Hideous Men of My Life List, the waterfront director, takes me out in a boat
and runs his hands under my shirt and up my shorts. He is breathing and
moving his hand slowly and hotly, and I fight no battles in my head. My mind
goes white. This is Cam. This is the man who has watched me grow from an 8-
year-old Brownie Scout, and his notice is an honor. This is Cam, who teaches
me to swim and dive and awards me the coveted White Cap! This is Cam, who
continues to run his hand inside my shorts and under my blouse — even in the
dining room during dinner, under the table, squeezing my thighs, shoving his
fingers — saying, “You’re my girl. You're my girl. You’re my girl,” and making
me Girl Scout—promise “not to tell anyone.”

I am astonished by what ’m about to write: I keep
laughing.

He does this until I go home. T am 12.

My friends will be stunned to read this. My sisters and brother will be
speechless. But Aly Raisman, the great Olympian gymnast, and the more than
150 young women who spoke out in court about Lawrence Nassar, the USA
Gymnastics team doctor, will not be shocked. Nassar abused some of the
young women in front of their own mothers. Nobody saw it.

And old Cam? He writes a book called The Girl Scout Man. Tt is listed in
“rather remarkable” condition, though there is some “light foxing and some
very modest yellowing of the pages,” on Abe Books, the rare-books dealer.
Here is a shortened version of its description:

“This loving homage to Girl Scouting is a record of many of the experiences
and incidents and occurrences spanning the over twenty-five years of
dedicated service of Cam Parks, done mostly at Camp Ella J. Logan, near Fort
Wayne, Indiana, on the shore of Dewart Lake. Tf you, Reader, are an alumnus
of Logan ... memories of time spent at this camp may well be sweeping over

you right now.”

No thank you.

As a Scout, I returned to Camp Ella J. Logan year after year, becoming tall and
womanly, receiving letters from boys with swak written on the backs of the
envelopes, going on weeklong canoe trips, and completing my counselor-in-
training program.

Cam I avoided. Never once did T speak to him or look at him again, but my
brain does not avoid him. He and his maroon swim trunks may have been

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events in my life — that somehow swim constantly back into my head. And it’s
Cam who, when he dies at the age of 72 and the story starts going around that
he was “suddenly dismissed” from coaching, causes me the most pain.

T could have spoken up! Maybe not when I was 12. But when I was 25. He died
when I was 34. 1 might have stopped him.

Which brings me to the other rich boy. Before I discuss him, T must
mention that there are two great handicaps to telling you what happened to
me in Bergdorf’s: (a) The man T will be talking about denies it, as he has
denied accusations of sexual misconduct made by at least 15 eredible women,
namely, Jessica Leeds, Kristin Anderson, J ill Harth, Cathy Heller, Temple
Taggart McDowell, Karena Virginia, Melinda McGillivray, Rachel Crooks,
Natasha Stoynoff, Jessica Drake, Ninni Laaksonen, Summer Zervos, Juliet
Huddy, Alva Johnson, and Cassandra Searles. (Here’s what the White House
said: “This is a completely false and unrealistic story surfacing 25 years after
allegedly taking place and was created simply to make the President look
bad.”) And (b) T run the risk of making him more popular by revealing what
he did.

His admirers can’t get enough of hearing that he’s rich enough, lusty enough,
and powerful enough to be sued by and to pay off every splashy porn star

or Playboy Playmate who “comes forward,” so T can’t imagine how ecstatic the
poor saps will be to hear their favorite Walking Phallus got it on with an old
lady in the world’s most prestigious department store.

   
   

     

, which aired from 1994 to 1996. Photo: Courtesy of the author
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On the Ask E Je nash

 
This iG AvATnstHe Peaks Lain dedaenacdaily2Abk Bledeon 1 showdon she cable
station America’s Talking, a precursor to MSNBC launched by Roger Ailes
(who, by the way, is No. 16 on my list).

Early one evening, as I am about to go out Bergdorf’s revolving door on 58th
Street, and one of New York’s most famous men comes in the revolving door,
or it could have been a regular door at that time, I can’t recall, and he says:
“Hey, you're that advice lady!” Co

And T say to No. 20 on the Most Hideous Men of My Life List: “Hey, you're
that real-estate tycoon!”

T am surprised at how good-looking he is. We’ve met once before, and perhaps
it is the dusky light but he looks prettier than ever. This has to be in the fall of
1995 or the spring of 1996 because he’s garbed in a faultless topcoat and ’m
wearing my black wool Donna Karan coatdress and high heels but not a coat.

“Come advise me,” says the man. “I gotta buy a present.”

“Oh!” T say, charmed. “For whom?”

“A girl,” he says.

“Don’t the assistants of your secretaries buy things like that?” T say.

“Not this one,” he says. Or perhaps he says, “Not this time.” I can’t recall. He is
a big talker, and from the instant we collide, he yammers about himself like
he’s Alexander the Great ready to loot Babylon.

As we are standing just inside the door, I point to the handbags. “How about—

3

“No!” he says, making the face where he pulls up both lips like he’s balancing a
spoon under his nose, and begins talking about how he once thought about
buying Bergdorf’s.

“Or ... a hat!” T say enthusiastically, walking toward the handbags, which, at
the period I’m telling you about — and Bergdorf’s has been redone two or
three times since then — are mixed in with, and displayed next to, the hats.
“She'll love a hat! You can’t go wrong with a hat!”

I don’t remember what he says, but he comes striding along — greeting a
Bergdorf sales attendant like he owns the joint and permitting a shopper to
gape in awe at him — and goes right for a fur number.

“Please,” I say. “No woman would wear a dead animal on her head!”

15,
What hastephesV dda tirecwll, Botunremefther htecbdillesthe fay dat likest's a
baby otter.

“How old is the lady in question?” I ask.

“How old are you?” replies the man, fondling the hat and looking at me like
Louis Leakey carbon-dating a thighbone he’s found in Olduvai Gorge.

“T’m 52,” I tell him.

“You're so old!” he says, laughing — he was around 50 himself — and it’s at
about this point that he drops the hat, looks in the direction of the escalator,
and says, “Lingerie!” Or he may have said “Underwear!” So we stroll to the
escalator. I don’t remember anybody else greeting him or galloping up to talk
to him, which indicates how very few people are in the store at the time.

T have no recollection where lingerie is in that era of Bergdorf, but it seems to
me it is on a floor with the evening gowns and bathing suits, and when the
man and I arrive — and my memory now is vivid — no one is present.

There are two or three dainty boxes and a lacy see-through bodysuit of lilac
gray on the counter. The man snatches the bodysuit up and says: “Go try this
on!”

“You try it on,” I say, laughing. “Tt’s your color.”
“Try it on, come on,” he says, throwing it at me.
“It goes with your eyes,” I say, laughing and throwing it back.

“You're in good shape,” he says, holding the filmy thing up against me. “T
wanna see how this looks.”

“But it’s your size,” I say, laughing and trying to slap him back with one of the
boxes on the counter.

“Come on,” he says, taking my arm. “Let’s put this on.”

This is gonna be hilarious, ?'m saying to myself — and as I write this, | am
staggered by my stupidity. As we head to the dressing rooms, I’m laughing
aloud and saying in my mind: I'm gonna make him put this thing on over his

pants!

There are several facts about what happens next that are so odd IT want to clear
them up before I go any further:

Did I report it to the police?
16
No. Case 1:20-cv-07311-LAK Document 152-1 Filed 05/11/23 Page 17 of 19

Did I tell anyone about it?

Yes. I told two close friends. The first, a journalist, magazine writer,
correspondent on the TV morning shows, author of many books, etc., begged
me to go to the police.

“He raped you,” she kept repeating when I called her. “He raped you. Go to the .
police! T’ll go with you. We'll go together.”

My second friend is also a journalist, a New York anchorwoman. She grew
very quiet when J told her, then she grasped both my hands in her own and
said, “Tell no one. Forget it! He has 200 lawyers. He'll bury you.” (Two
decades later, both still remember the incident clearly and confirmed their
accounts to New York.)

Do I have photos or any visual evidence?

Bergdorf’s security cameras must have picked us up at the 58th Street
entrance of the store. We would have been filmed on the ground floor in the
bags-and-hats sections. Cameras also must have captured us going up the
escalator and into the lingerie department. New York law at the time did not
explicitly prohibit security cameras in dressing rooms to “prevent theft.” But
even if it had been captured on tape, depending on the position of the camera,
it would be very difficult to see the man unzipping his pants, because he was
wearing a topcoat. The struggle might simply have read as “sexy.” The
speculation is moot, anyway: The department store has confirmed that it no
longer has tapes from that time.

Why were there no sales attendants in the lingerie department?

Bergdorf Goodman’s perfections are so well known — it is a store so noble, so
clubby, so posh — that it is almost easier to accept the fact that I was attacked
than the fact that, for a very brief period, there was no sales attendant in the
lingerie department. Inconceivable is the word. Sometimes a person won't
find a sales attendant in Saks, it’s true; sometimes one has to look for a sales
associate in Barneys, Bloomingdale’s, or even Tiffany’s; but 99 percent of the
time, you will have an attendant in Bergdorf’s. All T can say is I did not, in this
fleeting episode, see an attendant. And the other odd thing is that a dressing-
room door was open. In Bergdorf’s dressing rooms, doors are usually locked
until a client wants to try something on.

Why haven't I “come forward” before now?

17
Recei Ming deatiryeteats: Wein PAAVER ThA thy HEME? Heng dkaatssed! B&ing
dragged through the mud, and joining the 15 women who’ve come forward
with eredible stories about how the man grabbed, badgered, belittled, mauled,
molested, and assaulted them, only to see the man turn it around, deny,
threaten, and attack them, never sounded like much fun, Also, [ama coward.

      

Carroll, Donald and Ivana Trump, and Carroll's then-husband, television-news anchor John Johnson, at an NBC party

around 1987. Photo: Courtesy of the author

So now I will tell you what happened:

The moment the dressing-room door is closed, he lunges at me, pushes me
against the wall, hitting my head quite badly, and puts his mouth against my
lips. fam so shocked T shove him back and start laughing again. He seizes both
my arms and pushes me up against the wall a second time, and, as T become
aware of how large he is, he holds me against the wall with his shoulder and
jams his hand under my coat dress and pulls down my tights.

I am astonished by what I’m about to write: I keep laughing. The next
moment, still wearing correct business attire, shirt, tie, suit jacket, overcoat,
he opens the overcoat, unzips his pants, and, forcing his fingers around my
private area, thrusts his penis halfway -- or completely, I’m not certain —
inside me. It turns into a colossal struggle. I am wearing a pair of sturdy black
patent-leather four-inch Barneys high heels, which puts my height around six~

18
one, meet Hy TP MO Mi pls KooR OPERAS BASH hinteot Widiahy auefreohaad —
for some reason, I keep holding my purse with the other — and finally get a
knee up high enough to push him out and off and T turn, open the door, and
run out of the dressing room.

The whole episode lasts no more than three minutes. ! do not believe he
ejaculates. 1 don’t remember if any person or attendant is now in the lingerie
department. I don’t remember if I run for the elevator or if I take the slow ride
down on the escalator. As soon as I land on the main floor, I run through the
store and out the door — I don’t recall which door — and find myself outside
on Fifth Avenue.

And that was my last hideous man. The Donna Karan coatdress still hangs on
the back of my closet door, unworn and unlaundered since that evening. And
whether it’s my age, the fact that I haven’t met anyone fascinating enough over
the past couple of decades to feel “the sap rising,” as Tom Wolfe put it, or if it’s
the blot of the real-estate tycoon, T can’t say. But T have never had sex with

anybody ever again.

From What Do We Need Men For? A Modest Proposal, by E. Jean Carroll.
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Publishing Group. James, Arthur, and Evelyn are pseudonyms.

Makeup by Caitlin Wooters at Art Department; Hair by Clay Nielsen at Art
Department.

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